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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 R. ALEXANDER ACOSTA, SECRETARY                    )
 OF LABOR, UNITED STATES                           )
 DEPARTMENT OF LABOR                               )
                                                   )
                         Plaintiffs,               )       Civil Action No. 14-1494
                                                   )       Judge Nora Barry Fischer
          v.                                       )
                                                   )
 WPN CORPORATION; RONALD LABOW;                    )
 SEVERSTAL WHEELING, INC.                          )
 RETIREMENT COMMITTEE; MICHAEL                     )
 DICLEMENTE; DENNIS HALPIN;                        )
 WHEELING CORRUGATING COMPANY                      )
 RETIREMENT SECURITY PLAN; and                     )
 SALARIED EMPLOYEES’ PENSION PLAN                  )
 OF SEVERSTAL WHEELING, INC.,                      )
                                                   )
                         Defendants.               )


                                  MEMORANDUM OPINION

   I. INTRODUCTION

       Plaintiff, the Secretary of Labor, U.S. Department of Labor (“DOL”), brings this action

under the Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001, et seq.

(“ERISA”), for Defendants’ alleged failure to adequately discharge their duties as fiduciaries of

the Wheeling Corrugating Company Retirement Security Plan and Salaried Employees’ Pension

Plan of Severstal Wheeling, Inc. (the “Plans”), resulting in the purported loss of approximately

$7 million. Presently before the Court is the Motion to Disqualify Plaintiff’s Expert Witness, Dr.

Susan Mangiero, (Docket No. 166), filed by Michael DiClemente (“DiClemente”), Dennis

Halpin (“Halpin”), and the Severstal Wheeling, Inc. Retirement Committee (“the Retirement

Committee”) (collectively, “Defendants”).
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        The Court has now reviewed the Motion, (Docket No. 166), the Brief in Support of the

Motion, (Docket No. 167), Plaintiff’s Brief in Opposition, (Docket No. 170), the expert report of

Dr. Susan Mangiero dated December 11, 2017 (Docket No. 167-2 (“Mangiero Report”)), the

expert rebuttal report of Dr. Susan Mangiero dated February 16, 2018, (Docket No. 167-3

(“Mangiero Rebuttal Report”)), and the transcript of the deposition of Dr. Susan Mangiero that

took place on February 28, 2018, (Docket No. 167-6 (“Mangiero Dep.”)). The Court heard oral

argument on the Motion and supplemental briefing at its hearing on May 22, 2018, during which

the Court heard testimony from Dr. Susan Mangiero. (May 22, 2018 Hearing Tr.). The motion is

now ripe. After careful consideration of the parties’ positions, and for the following reasons,

Defendants’ Motion is DENIED.

    II. BACKGROUND1

        A. Factual Summary

        The parties in this case do not dispute the underlying facts, namely that the Retirement

Committee oversaw assets held in the Plans for the benefit of employees of Severstal Wheeling,

Inc. (and predecessors) and that Ronald Labow and WPN Corporation (collectively, “Labow”)

served as the investment manager for those assets for many years with broad discretion. (Docket

No. 167 at 2-3). On November 3, 2008, because the then-trustee of the WHX Trust would no

longer serve as trustee after 2008, the Plans’ assets were transferred by Labow to a standalone

trust specific to Severstal (the “Severstal Trust”). (Id. at 3). The Retirement Committee instructed

Labow to make this transfer and accepted into the Severstal Trust an account with Neuberger

Berman as the majority of the Plans’ interest. (Id.; Docket No. 170 at 2 (approximately 97% of

the value of the Neuberger Berman account was held in eleven large cap energy stocks)). The

1
 Given the Court’s prior recitation of the facts in its Memorandum Opinion dated June 7, 2017 (Docket No. 144)
and the parties’ familiarity with the factual and procedural background, the Court will limit its discussion to the
background necessary for the resolution of the current motion.

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Retirement Committee knew the Plans’ assets were going to be divested from the WHX Trust,

but did not follow up with Labow to confirm what assets from the WHX Trust would be

transferred into the Severstal Trust or actively manage those assets once deposited. (Id. at 3).

       The Retirement Committee did not formally engage the services of Labow for the assets

placed into the Severstal Trust until December 5, 2008, when the previous Investment

Management Agreement with Labow was amended and backdated to November 1, 2008.

(Docket Nos. 167-7 at ¶ 15, 148 at 3). During this time, the Retirement Committee engaged

Mercer Investment Consultants to monitor and provide periodic portfolio reviews of Labow.

(Docket No. 167-7 at ¶ 16). Following a review of the Plans’ assets by Mercer, the Retirement

Committee learned on December 29, 2008 that the Plans’ assets were largely undiversified and

immediately informed Labow. (Id. at ¶ 18-19). Labow failed to take any action until March 24,

2009, when the account was converted to cash. (Docket No. 148 at ¶ 27-29). Labow continued to

take no action to invest the cash and, ultimately as a result, the Committee terminated Labow’s

services on May 19, 2009. (Id.).

       In its Second Amended Complaint, the DOL alleges that the Retirement Committee and

its members, DiClemente and Halpin, failed to properly oversee the Plans and monitor Labow in

breach of their fiduciary duties and in violation of ERISA. (Docket No. 148 at ¶ 11). In the

alternative, the DOL alleges that the backdating of the IM Agreement was ineffective to relieve

Defendants from responsibility or liability for any responsibility, obligation or duty they had to

invest the Plans’ assets under ERISA. (Id. at ¶ 12). To support their position, the DOL has

designated Dr. Susan Mangiero to provide an expert opinion regarding the prevailing fiduciary

standards in 2008 and 2009 for retirement committee fiduciaries who monitor investment

managers for retirement plans, as well as the actual monitoring of the Plans’ investment



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managers, or lack thereof, by the Retirement Committee in this case. (See Mangiero Report;

Mangiero Rebuttal Report).

        B. Dr. Mangiero’s Qualifications

        Dr. Susan Mangiero is a forensic economist with extensive professional training and

industry experience in the financial arena. (Mangiero Report at 4). She earned a Ph.D. in finance

from the University of Connecticut, a Master’s in Business Administration in finance from New

York University, a Master of Arts degree in economics from George Washington University and

a Bachelor of Arts degree in economics from George Mason University. (Id.). Dr. Mangiero is

also an Accredited Investment Fiduciary Analyst™, Chartered Financial Analyst®, a Certified

Financial Risk Manager, a FINRA Trained Neutral, a Professional Plan Consultant™, a Certified

Fraud Examiner, and a member of the Association of Certified Fraud Examiners Advisory

Board. (Id.).

        She is currently employed as a managing director with Fiduciary Leadership, LLC, where

she provides compliance, dispute and litigation support to asset managers, banks, companies,

institutional investors and their counsel. (Id. at 48). Prior to working with Fiduciary Leadership,

LLC, she worked on multiple trading desks, including foreign exchange, futures, options, swaps

and other over-the-counter derivatives, fixed income securities and money market instruments.

(Id.). Of particular note, Dr. Mangiero is also affiliated with the Analysis Group, a group co-

founded and run by Defendants’ retained expert, Dr. Bruce E. Stangle.2

        Dr. Mangiero also has significant experience leading numerous ERISA-focused training

programs for and with retirement plan fiduciaries, advisors and regulators, including the U.S.

Department of Labor. (Id. at 6). She speaks and writes frequently on topics including risk

2
 Dr. Mangiero is listed on the “Experts & Consultants” page of the Analysis Group’s webpage. See Susan
Mangiero, http://www.analysisgroup.com/experts-and-consultants/affiliated-experts/susan-mangiero/ (last visited
August 3, 2018).

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management, asset manager and investment consultant due diligence, monitoring of asset

managers, and ERISA investment best practices. (Id.). She has also offered expert testimony and

forensic investigations in connection with various arbitration, mediation, litigation and industry

advisory proceedings and has over twenty years of experience in capital markets, global treasury,

asset-liability management, portfolio management, economic and investment analysis,

derivatives, financial risk control and valuation. (Id.). At this point in the litigation, Dr. Mangiero

has produced one expert report dated December 11, 2017, an expert rebuttal report dated

February 16, 2018, testified in a deposition on February 28, 2018, and testified in Court on May

22, 2018.

       C. Dr. Mangiero’s Opinions

       The DOL has proffered Dr. Mangiero as an expert witness to assist the fact finder in

understanding the prevailing standard for the Retirement Committee fiduciaries monitoring their

investment manager, Mr. Labow, and determining whether or not they met the standard that was

required of them under ERISA. (Mangiero Report at 3-4). In her expert report, Dr. Mangiero

explains that the “prevailing fiduciary standard in 2008 and 2009 required ERISA committee

members to carry out multiple tasks on behalf of plan participants” and, to the extent “committee

members chose to delegate some of its responsibilities to outside parties, the prevailing fiduciary

standard required ERISA committee members to adequately monitor those parties.” (Mangiero

Report at ¶ 41). Where, as here, the employer appoints an investment manager, “the employer is

responsible for the selection of the manager” and is “required to monitor the manager

periodically to assure that it is handling the plan’s investments prudently and in accordance with

the appointment.” (Id. (citing Meeting Your Fiduciary Responsibilities,” U.S. Dept. of Labor,

Feb. 2012)). Dr. Mangiero opines that the Retirement Committee had a duty to “carefully



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monitor” Labow, (Mangiero Report at ¶ 40(a), (b)), and that it “did not do as much as [it] could

have and should have” done, (Mangiero Rebuttal Report at ¶ 6). She explains that “[c]areful

monitoring by ERISA fiduciaries is always important but especially during a period when major

changes to a plan must be completed. . . . This transfer [to the Severstal Trust] was a big

change.” (Id. at ¶ 42). The transfer of the Plans’ assets,3 plus the “unprecedented upheaval” in the

financial markets at the time, “should have led to intense monitoring by DiClemente, Halpin, and

the Retirement Committee.” (Id. at ¶ 44). In her opinion, the Retirement Committee failed to

meet the prevailing fiduciary standard in numerous ways.

           With regard to the transfer of assets from the WHX Trust to the Severstal Trust, Dr.

Mangiero finds that the Retirement Committee “could not have satisfied [its] fiduciary duties to

ensure portfolio diversification unless assets (or a cash equivalent) were proportionately

transferred from the WHX Trust in the fall of 2008 and then immediately reapportioned in a

more prudent manner.” (Id. at ¶ 52). Rather than achieving diversification in November 2008,

Labow made a proportionate transfer of assets from the WHX Trust to the Severstal Trust, which

resulted in the Severstal Trust being unduly concentrated in hedge funds. (Id. at ¶ 53). Dr.

Mangiero contends that it was the Retirement Committee’s responsibility to follow up with

Labow to ensure the transfer had been correctly completed, and to regularly monitor financial

reports to understand what was happening to the Severstal Trust assets. (Id. at ¶ 45).

           Once ERISA fiduciaries have delegated certain responsibilities to outside third parties,

such as Labow in this case, Dr. Mangiero opines that

           it is incumbent upon those designating fiduciaries to regularly monitor and, if
           needed, revise the scope of work or terminate contracts and engage other service
           providers to replace those fired. Regulatory language states: “At reasonable
           intervals the performance of trustees and other fiduciaries should be reviewed by
           the appointing fiduciary in such manner as may be reasonably expected to ensure
3
    Dr. Mangiero values the Plans’ assets at $31,039,630 as of May 1, 2009. (Id. at ¶ 135).

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       that their performance has been in compliance with the terms of the plan and
       statutory standards, and satisfies the needs of the plan.”

(Id. at ¶ 116). In Dr. Mangiero’s view, despite the “unprecedented uncertainty and fear about

whether certain service providers would survive” and cautions from Mercer, the Retirement

Committee did not do many of the things one would ordinarily expect as part of a monitoring of

a third party. (Id. at ¶ 117). Further, despite warnings and “serious concern[s]” raised regarding

Labow, he was still given full power and discretion by the Retirement Committee and was not

terminated until May 2009. (Id. at ¶ 122-29). Dr. Mangiero estimates that the economic damage

due to lost opportunities is approximately $7 million. (Id. at ¶ 130-35).

   III. LEGAL STANDARD

       Federal Rule of Evidence 702, which memorializes the Supreme Court’s landmark case,

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), provides the basic

framework for the admissibility of expert testimony:

               A witness who is qualified as an expert by knowledge, skill,
               experience, training, or education may testify in the form of an
               opinion or otherwise if:
                  (a) the expert’s scientific, technical, or other specialized
                      knowledge will help the trier of fact to understand the
                      evidence or to determine a fact in issue;
                  (b) the testimony is based on sufficient facts or data;
                  (c) the testimony is the product of reliable principles and
                      methods; and
                  (d) the expert has reliably applied the principles and methods
                      to the facts of the case.

FED. R. EVID. 702. The United States Court of Appeals for the Third Circuit has held that “Rule

702 embodies a trilogy of restrictions on expert testimony: qualification, reliability and fit.”

Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003) (citations

omitted). “[T]he district court acts as a gatekeeper, preventing opinion testimony that does not

meet the requirements of qualification, reliability and fit from reaching the jury.” Id. In this role,

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the district court is not the finder of fact but must focus on the methodology of the expert in

order to “satisfy itself that ‘good grounds’ exist for the expert’s opinion.” United States v.

Mitchell, 365 F.3d 215, 244 (3d Cir. 2004) (citing Daubert, 509 U.S. at 590); In re TMI Litig.,

193 F.3d 613, 713 (3d Cir. 1999) (district court should not conflate “its gatekeeping function

with the fact-finders’ function as the assessor of credibility”).

       The Third Circuit has interpreted the qualification requirement liberally, holding that “a

broad range of knowledge, skills and training qualify an expert as such.” In re Paoli R.R. Yard

PCB Litig., 35 F.3d 717, 741 (3d Cir. 1994). Further, “[t]he District Court has broad discretion in

determining the admissibility of evidence, and ‘considerable leeway’ in determining the

reliability of particular expert testimony under Daubert.” Walker v. Gordon, 46 Fed. Appx. 691,

694 (3d Cir. 2002) (citing Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152-53 (1999)).

With respect to the “fit” prong, the expert must “apply his expertise reliably to the facts; his

opinions must be well reasoned, grounded in his experience, and not speculative.” Sargent v.

Commonwealth of Pennsylvania, Civ. No. 13-00730, 2015 WL 6447742, at *2 (M.D. Pa. Oct.

26, 2015) (quoting Roberson v. City of Philadelphia, et al., Civ. No. 99-3574, 2001 WL 210294,

at *4 (E.D. Pa. Mar. 1, 2001)). The task is left to the trial judge of “ensuring that an expert’s

testimony both rests on a reliable foundation and is relevant to the task at hand.” Daubert, 509

U.S. at 597.

   IV. ANALYSIS

       Defendants challenge Dr. Mangiero’s proffered expert testimony under each of the

Daubert factors. Specifically, Defendants argue that Dr. Mangiero is unqualified to offer

testimony on the Retirement Committee’s duty to monitor because she has never served on an

ERISA retirement committee. (Docket No. 167 at 6-7). They further point out that her



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“heightened standard” is based on her investment experience, common sense, and unspecified

implications from the law which, according to the Defendants, renders her standard “irrelevant,

made up, or both.” (Id.). In response, the DOL points to Dr. Mangiero’s decades of experience

relating to the ERISA duty to monitor, which the DOL argues provides a sufficient foundation

for her opinion on the prevailing standard and her ultimate conclusion that Defendants did not

satisfy their fiduciary obligation to monitor Labow. (Docket No. 170).

       Having fully considered Plaintiff’s proffer of Dr. Mangiero’s expert testimony and the

parties’ respective arguments regarding the same, the Court finds that Dr. Mangiero’s proffered

expert testimony is admissible under Daubert.

       A. Dr. Mangiero’s Qualifications

       Dr. Mangiero has decades of experience relating to ERISA fiduciary standards and has

the type of specialized knowledge required to satisfy the Daubert qualification prong. Under

Rule 702, an expert witness testifying to non-scientific matters must have “specialized

knowledge” in the area of his or her testimony. See Waldorf v. Shuta, 142 F.3d 601, 625 (3d Cir.

1998); Pineda v. Ford Motor Co., 520 F.3d 237, 244 (3d Cir. 2008) (It is well settled that

“[q]ualification requires ‘that the witness possess specialized expertise.’”) (quoting Schneider,

320 F.3d at 404).

       The basis of this specialized knowledge “can be practical experience as well as
       academic training and credentials.” [The United States Court of Appeals for the
       Third Circuit has] interpreted the specialized knowledge requirement liberally,
       and ha[s] stated that this policy of liberal admissibility of expert testimony
       “extends to the substantive as well as the formal qualification of experts.”
       However, “at a minimum, a proffered expert witness . . . must possess skill or
       knowledge greater than the average layman . . . .”


Waldorf, 142 F.3d at 625 (citations omitted).




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        “The mere fact that [an expert] does not have the formal qualifications that [a

challenging party] believes are the most appropriate does not render him unqualified.” See Trask

v. Olin Corp., Civ. Action No. 12-340, 2016 WL 1181428, at *10 (W.D. Pa. Mar. 28, 2016).

While it is true that Dr. Mangiero has never served on a retirement committee, (see Hearing Tr.

at 24:8-12; Docket No. 167 at 19), Dr. Mangiero has trained ERISA retirement plans and

committees on “how to engage third parties, how they monitored them, and, if necessary, the

termination processes that they used or factors that they considered.” (Mangiero Dep. 20:17-19).

In forming her opinions, she clearly draws on her decades of experience in the investment field

and in the financial arena, particularly with respect to ERISA governance, portfolio

diversification, asset allocation and oversight, and her experience as a consultant to institutional

investors, including retirement plan committees. In addition, Dr. Mangiero has previously been

qualified as an expert and provided testimony in connection with various arbitration, mediation

and litigation proceedings nationwide. (Mangiero Report at 50). Given her significant

experience, the Court finds that Dr. Mangiero is qualified to present her opinions regarding the

fiduciary standards prevailing in 2008 and 2009 for retirement committee fiduciaries to monitor

investment managers for retirement plans similar to the ERISA retirement plans at issue in this

case. She is further qualified to render her opinion as to whether Defendants met the prevailing

fiduciary standard here.

       B. Reliability

       Defendants also challenge the reliability of Dr. Mangiero’s proffered expert testimony,

claiming that her “evermorphing standards” are a creation of her “own subjective standards,

common sense, and mere implication” rather than ERISA, the DOL’s regulations, or any relevant

experience or reliable sources regarding the prevailing industry standard. (See Docket No. 167, at



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2). Defendants further take issue with the fact that Dr. Mangiero does not cite to the Court’s prior

decision, and she admitted during her oral testimony that she had not read the same prior to

writing her expert report. (Docket No. 167, n. 1; Hearing Tr. at 51:11-52:8). As a result,

Defendants argue that Dr. Mangiero traces her standard to her investment experience, common

sense, and unspecified implications from the law, rather than grounding her version of the duty

in any actual legal framework. (Docket No. 167, at 6).

        “An expert opinion is reliable when it is based on sound methodology and ‘good

grounds.’” Kumho, 526 U.S. at 137. “In a case such as this, where an expert is proffered to testify

regarding non-scientific matters, the relevant reliability concerns will focus upon personal

knowledge and experience of the witness and the methodology used will be applying that

experience to the facts of the case.” Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., 286

F.R.D. 266, 269–70 (W.D. Pa. 2012) (quoting Jackson v. City of Pittsburgh, Civ. No. 07–111,

2010 WL 3222137, at *4 (W.D. Pa. Aug. 13, 2010) (internal quotation marks and alterations

omitted). The Court is also guided by the proposition that “[t]he touchstone of Rule 702 . . . is

the helpfulness of the expert testimony, i.e., whether it ‘will assist the trier of fact to understand

the evidence or to determine a fact in issue.’” Voilas, 73 F. Supp. 2d at 460 (citations omitted).

       Here, after describing what she believes to be the prevailing fiduciary standard for a

retirement committee’s monitoring of an investment manager in 2008 and 2009, Dr. Mangiero

uses her experience and specialized knowledge to apply that standard to the facts in this case.

(Mangiero Report at 20-23, 29). Dr. Mangiero concludes that Defendants did not satisfy their

fiduciary obligations to monitor Labow, noting that she “saw no evidence that DiClemente,

Halpin and the Severstal Committee had done a lot of the things one would ordinarily expect as

part of a monitoring of a third party . . . .” (Id. at 29). After reviewing Dr. Mangiero’s expert



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report, rebuttal report, deposition testimony, and hearing her testimony, this Court holds that this

proposed expert has employed sufficiently reliable methods in reaching her conclusions in this

case.

        In addition, Defendants take issue with Dr. Mangiero’s use of the term “procedural

prudence.” (Docket No. 167, at 9-10). However, entire books have been written on this topic.

See, e.g., Donald B. Trone, et al., Procedural Prudence: The Handbook for the Management of

Investment Decisions (1997). Dr. Mangiero further explained during her deposition and her

testimony in Court that her perception of “procedural prudence” is based on her vast experience

in the industry. See Mangiero Dep. 16:3-18:6, 38:5-39:13, 62:10-63:5, 142:1-23; Hearing Tr. at

125:6-128:20). Nevertheless, to the extent Defendants believe Dr. Mangiero has incorrectly

defined the relevant standard, her conclusions remain subject to cross-examination and

Defendants will be permitted to offer their own expert testimony in rebuttal. See CMU, 286

F.R.D. at 272 (“The adversarial system ensures that, through ‘[v]igorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof’ expert

testimony may be shown wanting.”) (citing Daubert, 509 U.S. at 596). Defendants’ Motion is

denied to the extent it asserts that Dr. Mangiero does not meet the reliability prong of the

Daubert test.

        C. Fit

        Defendants’ final challenge to Dr. Mangiero’s proffered expert testimony is that it will

not be helpful to the trier of fact because she relied on “common sense” as the basis for same.

(See, e.g., Mangiero Dep. at 70:3-9; 79:16-20; 125:9-14; 143:1-3, 21-25). They contend that this

Court and the jury possess common sense, (Docket No. 176 at 11), and Dr. Mangiero’s opinions

based on “[g]eneralized common sense does not rise to the level of expert opinion solely because



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it is offered by someone with an academic pedigree.” Fedor v. Freightliner, Inc., 193 F. Supp. 2d

820, 832 (E.D. Pa. 2002).

       This Court agrees with the DOL that, while Dr. Mangiero may bolster her opinions by

appealing to common sense, this does not negate the expertise with which she arrives at her

conclusions. (See Docket No. 167 at 17 (citing Fed. Rule Evid. 701 cmt. 2000 Amendments

(contrasting expert opinion, which “results from a process of reasoning which can be mastered

only by specialists in the field,” with lay opinion, which “results from a process of reasoning

familiar in everyday life”)) (citations omitted)). Further, Dr. Mangiero clarified that, when she

uses the term “common sense,” she is referring to being “reasonable and prudent, careful and so

forth.” (Hearing Tr. at 130:10-11). Her opinions demonstrate a careful review of numerous

documents and materials in this case, and she thoroughly explains why the facts presented here

indicate that Defendants did not satisfy their duty to monitor. (Mangiero Report at 10-31).

Accordingly, this Court finds that Dr. Mangiero’s testimony “could certainly prove helpful to the

average juror who presumably lacks such experience in and knowledge about complex financial

matters, even if doing so does not require employing any particular methodology but simply a

straightforward review of the [] data.” CMU, 286 F.R.D. at 271 (quoting Voilas, 73 F. Supp. 2d

at 461).

   V. CONCLUSION

       The Court has now exercised its gatekeeper duties and finds that Plaintiff’s proffered

expert, Dr. Susan Mangiero, has met each of the Daubert requirements such that her opinions

may be admitted as expert testimony. In this Court’s estimation, Dr. Mangiero’s opinions are

appropriately set forth based on her education, experience, and her review of the materials cited

in her report. Accordingly, Defendants’ motion [166] is DENIED.



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       An appropriate order follows.

                                               /s/ Nora Barry Fischer
                                               Nora Barry Fischer
                                               United States District Judge

Date: August 3, 2018

cc/ecf: All counsel of record.




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